             Case 1:22-mj-00384-CCB Document 1 Filed 04/28/22 Page 1 ofFILED
                                                                        4    IN CHAMBERS
                                                                                                        U.S.D.C ATLANTA
                                                                                                      Apr 28 2022
                                                                                                Date: _________________________
                                      United States District Court
                                      NORTHERN DISTRICT OF GEORGIA                              KEVIN P. WEIMER , Clerk
                                                                                                    s/James Jarvis
                                                                                                By: ____________________________
  UNITED STATES OF AMERICA                                                                                Deputy Clerk
                                                                       CRIMINAL COMPLAINT
  v.
                                                                                 UNDER SEAL
                                                                       Case Number: 1:22-MJ-384
  DION MARQUISE HAYES


I, the undersigned complainant being duly sworn, state the following is true and correct to the best of my
knowledge and belief.

On or about April 12, 2022, defendant DION MARQUISE HAYES, failed to surrender for service of
sentence pursuant to a court order issued in the Northern District of Georgia, in violation of Title 18,
United States Code, Section 3146.

I further state that I am a Deputy United States Marshal and that this complaint is based on the following
facts:
PLEASE SEE ATTACHED AFFIDAVIT
Continued on the attached sheet and made a part hereof.        Yes


                                                         Signature of Complainant
                                                        Matthew Keown

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to me by telephone pursuant to Federal
Rule of Criminal Procedure 4.1.

 April 28, 2022                                           at    Atlanta, Georgia
 Date                                                           City and State



 CHRISTOPHER C. BLY
 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                             Signature of Judicial Officer
 AUSA Ryan K. Buchanan                                          Issued pursuant to Federal Rule of Criminal
 ryan.buchanan@usdoj.gov                                        Procedure 4.1.
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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

   I, Matthew Keown, depose and state under penalty of perjury:

                            AFFIANT BACKGROUND

   1. I am an investigative or law enforcement officer of the United States, within

the meaning of Title 18, United States Code, § 2510(7), that is, an officer of the

United States who is empowered to conduct investigations of, and to make arrests

for, offenses enumerated in Title 18, United States Code, § 2516.

   2. I am employed as a Deputy United States Marshal with the United States

Marshals Service (USMS) and have been so employed since 2015. I am currently

assigned to the USMS in the Northern District of Georgia.           My duties and

responsibilities include, but are not limited to, fugitive apprehension, protecting

federal judges, prisoner management, and serving court documents. Throughout

my 7-year career as a Deputy U.S. Marshal, I have participated in and led

numerous investigations relating to tracking and locating fugitives who violate

federal and state law. I am familiar with the methods and means individuals and

organizations will use to escape and avoid law enforcement within the United

States. One of my statutory duties is to investigate violations of Federal law,

specifically Title 18 USC § 3146 (Failure to Appear).

   3. This affidavit is submitted in support of a criminal complaint and arrest

warrant charging Dion HAYES with Failing to Appear after being ordered to

surrender himself at FCI McDowell Camp in Welch, West Virginia, in violation of

Title 18, United States Code, Section 3146.
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                         SOURCES OF INFORMATION

   4. The facts set forth in this affidavit are based on observations made by myself

and other law enforcement officers participating in this investigation, and

information obtained from other agents and witnesses, and may also be based on:

(a) my training and experience, (b) reports and/or business records, (c) recorded

conversations, and (d) communications with other individuals who have personal

knowledge of the events and circumstances described herein. Since this affidavit

is being submitted for the limited purpose of establishing probable cause, I have

not included in this affidavit every detail of the investigation. Rather, I have set

forth facts that I believe are sufficient to establish probable cause for the issuance

of the requested arrest warrant. Unless specifically indicated otherwise, any

conversations and statements described in this affidavit are related in substance

and in part only.

          FAILURE TO SURRENDER FOR SERVICE OF SENTENCE

   5. A failure to surrender for service of sentence pursuant to a court order is a

violation of Title 18, United States Code, Section 3146.

                               PROBABLE CAUSE

   6. On or about March 10, 2020, a federal grand jury in the Northern District of

Georgia returned an indictment charging Dion Marquise HAYES with possessing

a firearm in the Northern District of Georgia after convictions for Carjacking and

Felony Firearms Possession in the State of Michigan in 2011, a violation of Title 18,

United States Code, Section922(g)(1).

   7. On or about August 9, 2021, HAYES entered a guilty plea to the indictment.

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   8. On or about November 8, 2021, the Court sentenced HAYES to three years of

probation and a fine of $90,000.

   9. On or about December 10, 2021, the Court issued a summons for HAYES to

appear based on a petition to show cause as to why probation should not be

revoked due to multiple positive test results for use of controlled substances and

an arrest in Nevada for Obstruction of Law Enforcement and Battery.

   10. On or about February 1, 2022, the Court revoked HAYES’S probation and

ordered HAYES to serve to six months in the custody of the Bureau of Prisons to

be followed by two years of supervised release.

   11. On or about March 11, 2022, the United States Marshal for the Northern

District of Georgia directed HAYES to report to FCI McDowell Camp in Welch,

West Virginia on April 12, 2022 to serve the sentence ordered by the Court.

   12. On or about March 15, 2022, a United States Senior Probation Officer

confirmed with HAYES that HAYES received the instruction to report to FCI

McDowell Camp on April 12, 2022.

   13. On April 12, 2022, HAYES did not surrender to FCI McDowell Camp to

serve his sentence as directed.

   14. As of April 27, 2022, HAYES has not surrendered to FCI McDowell Camp

to serve his sentence.

                                   CONCLUSION

   15. Based on my knowledge, training, experience, and the facts set for in this

affidavit, I submit there exists probable cause to believe that HAYES has failed to

surrender to serve his sentence, in violation of Title 18 USC Section 3146,

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